Case 2:16-cr-00336-JMV Document 5 Filed 07/19/16 Page 1 of 10 PageID: 18




                                         U.S. Department of Justice

                                         United States Attorney
                                         District ofNew Jersey

                                         970 Broad Street, Suite 700        (973) 645-2700
                                         Newark, NJ07I02




                                         April 7, 2016

Walter W. Cohen, Esq.
Obermayer Rebmann Maxwell &
Hippel, LLP
Suite    400
200 Locust       Street
Harrisburg,       PA 17101-1508


        Re:     Plea Agreement with Peter Pappas

Dear Mr.       Cohen:


        This letter sets forth the plea agreement between your
client, Peter Pappas, and the United States Attorney, for the
District of New Jersey {^^this Office") .

Charge

     Conditioned on the understandings specified below, this
Office will accept a guilty plea from Peter Pappas to a one-
count Information which charges him with knowingly and willfully
conspiring to defraud a health care benefit program, contrary to
Title 18, United States Code, Section 1347, in violation of
Title 18, United States Code, Section 1349.                    If Peter Pappas
enters a guilty plea and is sentenced on this charge, and
otherwise fully complies with all of the terms of this
agreement, this Office will not initiate any further criminal
charges against him for any federal crimes relating to the
conspiracy to commit health care fraud by obtaining and filling
compounded prescriptions through his employer's prescription
drug benefit plan and recruiting others to join the scheme, for
which he received kickback checks from Company A from in or
about October 2014 through in or about November 2015, based on
information that is known to this Office as of the date that
 Case 2:16-cr-00336-JMV Document 5 Filed 07/19/16 Page 2 of 10 PageID: 19




this agreement is signed by Peter Pappas. However, in the event
that a guilty plea in this matter is not entered for any reason
or the judgment of conviction entered as a result of this guilty
plea does not remain in full force and effect, defendant agrees
that any dismissed charges and any other charges that are not
time-barred by the applicable statute of limitations on the date
this agreement is signed by Peter Pappas may be commenced
against him, notwithstanding the expiration of the limitations
period after Peter Pappas signs the agreement.

Sentencing

       The violation of 18 U.S.C. § 1349 to which Peter Pappas
agrees to plead guilty carries a statutory maximum prison
sentence of 10 years and a statutory maximum fine equal to the
greatest of (1) $250,000, (2) twice the gross amount of any
pecuniary gain that any persons derived from the offense, or (3)
twice the gross amount of any pecuniary loss sustained by any
victims of the offense.     Fines imposed by the sentencing judge
may be subject to the payment of interest.

       The sentence to be imposed upon Peter Pappas is within- the
sole discretion of the sentencing judge, subject to the
provisions of the Sentencing Reform Act, .18 U.S.C. §§-.3551-3742,
and the sentencing judge's consideration of the United States
Sentencing Guidelines. The United States Sentencing Guidelines
are advisory, not mandatory. The sentencing judge may impose
any reasonable sentence up to and including the statutory
maximum term of imprisonment and the maximum statutory fine.
This Office cannot and does not make any representation or
promise as to what guideline range may be found by the
sentencing judge, or as to what sentence Peter Pappas ultimately
will   receive.


       Further, in addition to imposing any other penalty on Peter
Pappas, the sentencing judge (1) will order Peter Pappas to pay
an assessment of $100 pursuant to 18 U.S.C. § 3013, which
assessment must be paid by the date of sentencing; (2) must
order Peter Pappas to pay restitution pursuant to 18 U.S.C. §§
3663 et seq.; (3) may order Peter Pappas, pursuant to 18 U.S.C.
§ 3555, to give notice to any victims of his offense; (4) must
order forfeiture, pursuant to 18 U.S.C. § 982(a)(7); and (5)
pursuant to 18 U.S.C. § 3583, may require Peter Pappas to serve
a term of supervised release of not more than three (3) years,
which will begin at the expiration of any term of imprisonment
imposed.     Should Peter Pappas be placed on a term of supervised
release and subsequently violate any of the conditions of
                                     2
Case 2:16-cr-00336-JMV Document 5 Filed 07/19/16 Page 3 of 10 PageID: 20




supervised release before the expiration of its term, Peter
Pappas may be sentenced to not more than two (2) years'
imprisonment in addition to any prison term previously imposed,
regardless of the statutory maximum term of imprisonment set
forth above and without credit for time previously served on
post-release supervision, and may be sentenced to an additional
term of supervised release.

Restitution Agreement

     In addition, Peter Pappas agrees to make full restitution
for all losses resulting from the offense of conviction or from
the scheme, conspiracy, or pattern of criminal activity
underlying that offense. The calculation of the losses
resulting from the offense of conviction is ongoing; however,
the parties agree that the loss' figure is at least
$3,689,000.00.

Forfeiture


     Peter Pappas agrees that as part of his acceptance of
responsibility and pursuant to 18 U.S.C. § 982(a)(7), he will
forfeit to the United States $481,773.96 in United States
currency (the Forfeiture Money Judgment") . Defendant
acknowledges that the Forfeiture Money Judgment is subject to '
forfeiture as property, real or personal, that constitutes or is
derived, directly or indirectly, from gross proceeds traceable
to a violation of 18 U.S.C. § 1349, which is a Federal health
care offense within the meaning of 18 U.S.C. § 982(a)(7).

     Payment of the Forfeiture Money Judgment shall be made by
certified or bank check, with the criminal docket number noted
on the face of the check, payable to the United States Marshals
Service.  On or before the date he enters his plea of guilty
pursuant to this agreement, Peter Pappas shall cause said check
to be hand-delivered to the Asset Forfeiture and Money
Laundering Unit, United States Attorney's Office, District of
New Jersey, 970 Broad Street, Newark, New Jersey 07102.

     If the Forfeiture Money Judgment is not paid on or before
the date Peter Pappas enters his plea of guilty pursuant to this
agreement, interest shall accrue on any unpaid portion thereof
at the judgment rate of interest from that date. Furthermore,
if Peter Pappas fails to pay any portion of the Forfeiture Money
Judgment on or before the date of his guilty plea, Peter Pappas
consents to the forfeiture of any other property alleged to be
subject to forfeiture in the Information, including substitute
                                    3
Case 2:16-cr-00336-JMV Document 5 Filed 07/19/16 Page 4 of 10 PageID: 21




assets, in full or partial satisfaction of the money judgment,
and remains responsible for the payment of any deficiency until
the Forfeiture Money Judgment is paid in full.

     Peter Pappas further agrees to waive all interest in the
Forfeitable Property in any administrative or judicial
forfeiture proceeding, whether criminal or civil, state or
federal.  Peter Pappas agrees to consent to the entry of orders
of forfeiture for the Forfeiture Money Judgment and waives the
requirements of Rules 32.2 and 43(a) of the Federal Rules of
Criminal Procedure regarding notice of the forfeiture in the
charging instrument, announcement of the forfeiture at
sentencing, and incorporation of the forfeiture in the judgment.
Pursuant to Rule 32.2(b)(4) of the Federal Rules of Criminal
Procedure, the defendant consents to the entry of a Consent
Judgment of Forfeiture that will be final as to the Forfeiture
Money Judgment prior to the defendant's sentencing. Peter
Pappas understands that the imposition of the Forfeiture Money
Judgment is part of the sentence that may be imposed in this
case and waives any failure by the court to advise him of this
pursuant to Rule 11(b)(1)(J) of the Federal Rules of Criminal
Procedure at the guilty plea proceeding.

     It is further understood that any forfeiture of Peter '
Pappas's assets shall not be treated as satisfaction of any
fine, restitution, cost of imprisonment, or any other penalty
the Court may impose upon him in addition to forfeiture. Peter
Pappas hereby waives any and all claims that the forfeiture
constitutes an excessive fine and agrees that the forfeiture
does not violate the Eighth Amendment.

     It is further understood that the Office will recommend to
the Attorney General that any forfeited money or property be
remitted or restored to eligible victims of the offense,
pursuant to 18 U.S.C. § 982(b)(1), 21 U.S.C. § 853(i), 28
C.F.R. Pt. 9, and other applicable law, it being understood that
this Office has authority only to recommend such relief and that
the final decision of whether to grant relief rests with the
Department of Justice, which will make its decision in
accordance with applicable law.


Rights of this Office Regarding Sentencing

     Except as otherwise provided in this agreement, this Office
reserves its right to take any position with respect to the
appropriate sentence to be imposed on Peter Pappas by the
                                    4
Case 2:16-cr-00336-JMV Document 5 Filed 07/19/16 Page 5 of 10 PageID: 22




sentencing judge, to correct any misstatements relating to the
sentencing proceedings, and to provide the sentencing judge and
the United States Probation Office all law and information
relevant to sentencing, favorable or otherwise.  In addition,
this Office may inform the sentencing judge and the United
States Probation Office of (1) this agreement and (2) the full
nature and extent of Peter Pappas's activities and relevant
conduct with respect to this case.

Stipulations

        This Office and Peter Pappas agree to stipulate at
sentencing to the statements set forth in the attached Schedule
A, which hereby is made a part of this plea agreement. This
agreement to stipulate, however, cannot and does not bind the
sentencing judge, who may make independent factual findings and
may reject any or all of the stipulations entered into by the
parties. To the extent that the parties do not stipulate to a
particular fact or legal conclusion, each reserves the right to
argue the existence of and the effect of any such fact or
conclusion upon the sentence. Moregver, this agreement to
stipulate on the part of this Office is based on the information
and evidence that this Office possesses as of the date of this
agreement.     Thus, if this Office obtains or receives additional
evidence or information prior to sentencing that it determines
to be credible and to be materially in conflict with any
stipulation in the attached Schedule A, this Office shall npt be
bound by any such stipulation. A determination that any
stipulation is not binding shall not release either this Office
or Peter Pappas from any other portion of this agreement,•
including any other stipulation. If the sentencing court
rejects a stipulation, both parties reserve the right to argue
on appeal or at post-sentencing proceedings that the sentencing
court was within its discretion and authority to do so.         These
stipulations do not restrict the Government's right to respond
to questions from the Court and to correct misinformation that
has been provided to the Court.

Waiver of Appeal and Post-Sentencing Rights

        As set forth in Schedule A, this Office and Peter Pappas
waive certain rights to file an appeal, collateral attack, writ,
or motion after sentencing, including but not limited to an
appeal under 18 U.S.C. § 3742 or a motion under 28 U.S.C. §
2255.
Case 2:16-cr-00336-JMV Document 5 Filed 07/19/16 Page 6 of 10 PageID: 23




Immigration Consequences

    The defendant understands that,      if he is not a citizen of
the United States, his guilty plea to the charged offense may
result in his being subject to immigration proceedings and
removed from the United States by making him deportable,
excludable, or inadmissible, or ending his naturalization.         The
defendant understands that the immigration consequences of this
plea will be imposed in a separate proceeding before the
immigration authorities. The defendant wants and agrees to
plead guilty to the charged offense(s) regardless of any
immigration consequences of this plea, even if this plea will
cause his removal from the United States.       The defendant
understands that he is bound by his guilty plea regardless of
any immigration consequences of the plea. Accordingly, the
defendant waives any and all challenges to his guilty plea and
to his sentence based on any immigration consequences, and
agrees not to seek to withdraw his guilty plea, or to file a
direct appeal or any kind of collateral attack challenging his
guilty plea, conviction, or sentence, based on any immigration
consequences of his guilty plea.

Other Provisions

     This agreement is limited to the United States Attorney's
Office for the District of New Jersey and cannot bind other
federal, state, or local authorities.      However, this Office will
bring this agreement to the attention of other prosecuting
offices, if requested to do so.

     This agreement was reached without regard to any civil or
administrative matters that may be pending or commenced in the
future against Peter Pappas.     This agreement does not prohibit
the United States, any agency thereof (including the Internal
Revenue Service and Immigration and Customs Enforcement), or any
third party from initiating or prosecuting any civil or
administrative proceeding against Peter Pappas.

     No provision of this agreement shall preclude Peter Pappas
from pursuing in an appropriate forum, when permitted by law, an
appeal, collateral attack, writ, or motion claiming that Peter
Pappas received constitutionally ineffective assistance of
counsel.
Case 2:16-cr-00336-JMV Document 5 Filed 07/19/16 Page 7 of 10 PageID: 24




No Other    Promises


     This agreement constitutes the plea agreement between Peter
Pappas and this Office and supersedes any previous agreements
between them.  No additional promises, agreements, or conditions
have been made or will be made unless set forth in writing and
signed by the parties.


                                       Very truly yours.

                                       PAUL   J.   FISHMAN
                                       United States Attorney




                                       By: Melissa L.        Jampo
                                       Assistant U.S. Attorney

APPROVED:




                 Care and Government Fraud Unit
Case 2:16-cr-00336-JMV Document 5 Filed 07/19/16 Page 8 of 10 PageID: 25




     I have received this letter from my attorney, Walter W.
Cohen, Esq.  I have read this letter. My attorney and I have
discussed the letter and all of its provisions, including the
provisions addressing the charge, sentencing, the stipulations,
waiver, and immigration consequences.  I understand the letter
fully.   I hereby accept the terms and conditions set forth in
this letter and acknowledge that it constitutes the plea
agreement between the parties. I understand that no additional
promises, agreements, or conditions have been made or will be
made unless set forth in writing and signed by the parties.          I
want to plead guilty pursuant to this plea agreement.



AGREED AND ACCEPTED;




                                       Date:
Peter Pappas




I have discussed with my client this plea agreement and all of.,
its provisions, including those addressing the charge,
sentencing, the stipulations, waiver, and immigration
consequences. My client understands the letter fully and wants
to plead guilty pursuant to this plea agreement.



                                       Date:
Walter W. Cohen,   Esq.
Case 2:16-cr-00336-JMV Document 5 Filed 07/19/16 Page 9 of 10 PageID: 26




                   Plea Agreement With Peter Pappas

                                 Schedule A


     1.   This Office and Peter Pappas recognize that the United
States Sentencing Guidelines are not binding upon the Court.
This Office and Peter Pappas nevertheless agree to the
stipulations set forth herein, and agree that the Court should
sentence Peter Pappas within the Guidelines range that results
from the total Guidelines offense level set forth below.         This
Office and Peter Pappas further agree that neither party will
argue for the imposition of a sentence outside the Guidelines
range that results from the agreed total Guidelines offense
level.


     2.     The version of the United States Sentencing
Guidelines, effective November 1, 2015, applies in this case.

     3.   The guideline that applies to the charged conduct is
U.S.S.G. § 2B1.1, which provides for a base offense level of 6.
See U.S.S.G.    § 2B1.1(a)(2).

     4.     Because this offense involved losses totaling more
than $3,500,000 but not more than $9,500,000, the Specific
Offense Characteristic results in an increase of 18 levels.         See
U.S.S.G.    § 2B4.1{b)(1)(G).

     5.     As the defendant was an organizer or leader of the
criminal activity and because the enterprise consisted of five
or more participants, the base offense level is increased by
four levels. U.S.S.G. § 3Bl.l(a).

     6.     As of the date of this letter, Peter Pappas has
clearly demonstrated a recognition and affirmative acceptance of
personal responsibility for the offense charged. Therefore, a
downward adjustment of 2 levels for acceptance of responsibility
is appropriate if Peter Pappas's acceptance of responsibility
continues through the date of sentencing.       See U.S.S.G. §
3El.l(a).

     7.   As of the date of this letter, Peter Pappas has
assisted authorities in the investigation or prosecution of his
own misconduct by timely notifying authorities of his intention
to enter a plea of guilty, thereby permitting this Office to
avoid preparing for trial.and permitting this Office and the
court to allocate their resources efficiently. At sentencing,
this Office will move for a further 1-point reduction in Peter
                                      9
Case 2:16-cr-00336-JMV Document 5 Filed 07/19/16 Page 10 of 10 PageID: 27




Pappas's offense level pursuant to U.S.S.G. § 3El.l(b) if the
following conditions are met: (a) Peter Pappas enters a plea
pursuant to this agreement, (b) this Office in its discretion
determines that Peter Pappas's acceptance of responsibility has
continued through the date of sentencing and Peter Pappas
therefore qualifies for a 2-point reduction for acceptance of
responsibility pursuant to U.S.S.G. § 3El.l(a), and (c) Peter
Pappas's offense level under the Guidelines prior to the
operation of § 3El.l(a) is 16 or greater.

     8.      In accordance with the above, the parties agree that
the total Guidelines offense level applicable to Peter Pappas is
25 (the ''agreed total Guidelines offense level") .

     9.   The parties agree not to seek or argue for any upward
or downward departure, adjustment or variance not set forth
herein. The parties further agree that a sentence within the
Guidelines range that results from the agreed total Guidelines
offense level of 25 is reasonable.

     10. Peter Pappas knows that he has and, except as noted
below in this paragraph, voluntarily waives, the right to file
any appeal, any collateral attack, or any other writ or motion,
including but not limited to an appeal under IB U.S.C. § 3742 or
a motion under 28 U.S.C. § 2255, which challenges the sentence
imposed by the sentencing court if that sentence falls within or
below the Guidelines range that results from the agreed total
Guidelines offense level of 25.      This Office will not file any
appeal, motion or writ which challenges the sentence imposed by
the sentencing court if that sentence falls within or above the
Guidelines range that results from the agreed total Guidelines
offense level of 25. The parties reserve any right they may
have under 18 U.S.C. § 3742 to appeal the sentencing court's
determination of the criminal history category. The provisions
of this paragraph are binding on the parties even if the Court
employs a Guidelines analysis different from that stipulated to
herein.    Furthermore, if the sentencing court accepts a
stipulation, both parties waive the right to file an appeal,
collateral attack, writ, or motion claiming that the sentencing
court erred in doing so.

     11.     Both parties reserve the right to oppose or move to
dismiss any appeal, collateral attack, writ, or motion barred by
the preceding paragraph and to file or to oppose any appeal,
collateral attack, writ or motion not barred by the preceding
paragraph.

                                    10
